
361 S.E.2d 562 (1987)
321 N.C. 117
Andree T. HOCHHEISER, Administrator of the Estate of Claudine Hochheiser and Renee Hochheiser, Deceased
v.
NORTH CAROLINA DEPARTMENT OF TRANSPORTATION.
No. 642PA86.
Supreme Court of North Carolina.
November 5, 1987.
Beskind and Rudolf, P.A. by Donald H. Beskind and Heidi G. Chapman, Chapel Hill, for plaintiff-appellant.
Lacy H. Thornburg, Atty. Gen., Monroe, Wyne, Atkins &amp; Lennon, P.A. by George W. Lennon, Raleigh, for defendant-appellee.
Herman E. Gaskins, Jr., for North Carolina Academy of Trial Lawyers, Washington, D.C., amicus curiae.
PER CURIAM.
Justice Webb took no part in the consideration or decision of this case. The remaining members of this Court were equally divided with three members voting to affirm the decision of the Court of Appeals and three members voting to reverse. Therefore, the decision of the Court of Appeals is left undisturbed and stands without precedential value. See State v. Johnson, 286 N.C. 331, 210 S.E.2d 260 (1974).
Affirmed.
